          Case 1:02-cv-06385-AWI-GSA Document 180 Filed 06/13/08 Page 1 of 2


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                     IN THE UNITED STATES DISTRICT COURT FOR THE
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                              EASTERN DISTRICT OF CALIFORNIA
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        MARIA TORRES and MELCHOR                  )      1:02-CV-6385 AWI GSA
11      TORRES, individually and as               )
        Adminstrators of the Estate of            )      Consolidated with CV F 03-5999
12      EVERARDO TORRES, and as                   )
        guardians ad litem for the brother of the )
13      Deceased, RAMON TORRES (a minor )                JUDGMENT IN FAVOR OF
        through his guardians ad litem, MARIA )          TASER INTERNATIONAL,
14      and MELCHOR TORRES) and                   )      INC.
        MELCHOR TORRES, JR.,                      )
15                                                )
                             Plaintiffs,          )
16             v.                                 )
                                                  )
17      CITY OF MADERA, MARCY                     )
        NORIEGA, individually and as a            )
18      member of the Madera Police               )
        Department, and DOES 1 through 50,        )
19      inclusive,                                )
                                                  )
20                           Defendants.          )
                                                  )
21      ____________________________________)
                                                  )
22      AND RELATED CONSOLIDATED                  )
        CASE                                      )
23      ____________________________________)
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25
            The motion for summary judgment of Taser International on the complaint of plaintiffs
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     City of Madera and Marcy Noriega was granted by this Court on July 12, 2005. See Court’s
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     Docket Doc. No. 132. The Ninth Circuit subsequently affirmed the order on the motion for
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           Case 1:02-cv-06385-AWI-GSA Document 180 Filed 06/13/08 Page 2 of 2


 1   summary judgment, and mandate was on the Ninth Circuit opinion was entered on May 27, 2008.
 2   See Court’s Docket Doc. Nos. 177, 178.
 3          Accordingly, IT IS HEREBY ORDERED that:
 4   1.     On the complaint of the City of Madera and Marcy Noriega, the Clerk shall enter
 5          judgment IN FAVOR of Taser International and AGAINST the City of Madera and
 6          Marcy Noriega; and
 7   2.     Taser International may seek to recover costs against the City of Madera and Marcy
 8          Noriega to the extent permitted by the Federal Rules of Civil Procedure.
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10   IT IS SO ORDERED.
11   Dated:    June 11, 2008                          /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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